             Case 2:17-cv-01830-RSL Document 50 Filed 05/24/19 Page 1 of 3



                                                               The Honorable Robert S. Lasnik
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                              UNITED STATES DISTRICT COURT
 7                      FOR THE WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8
 9   AMAZON.COM, INC., a Delaware
     corporation, AMAZON TECHNOLOGIES,              CASE NO. 2:17-cv-01830-RSL
10   INC., a Nevada corporation; and AMAZON
     SERVICES, LLC, a Nevada limited liability      PLAINTIFFS’ REPLY IN
11   company,                                       SUPPORT OF THEIR MOTION
                                                    TO LIFT STAY AND TO
12                                                  DISMISS ALL CLAIMS
                                Plaintiffs,         PURSUANT TO RULE 41(A)(2)
13
                  v.                                NOTED ON MOTION CALENDAR:
14                                                  May 24, 2019
     FBA STORES, LLC, a limited liability
15   company; FBA DISTRIBUTORS, LLC, a
16   limited liability company; FBA
     ADVANTAGE, LLC, a limited liability
17   company; AWS, LLC, a limited liability
     company; ONLINE AUCTION LEARNING
18   CENTER, INC., a corporation;
     CHRISTOPHER BOWSER, an individual;
19   ADAM BOWSER, an individual; and DOE
20   Companies 1 – 20,

21                              Defendants.

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     PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION
     TO LIFT STAY AND TO DISMISS ALL CLAIMS
                                                                SUMMIT LAW GROUP PLLC
                                                                  315 FIFTH AVENUE SOUTH, SUITE 1000
     PURSUANT TO RULE 41(A)(2) - 1                                 SEATTLE, WASHINGTON 98104-2682
     CASE NO. 2:17-cv-01830-RSL                                         Telephone: (206) 676-7000
                                                                           Fax: (206) 676-7001
              Case 2:17-cv-01830-RSL Document 50 Filed 05/24/19 Page 2 of 3




 1          Defendants have submitted no opposition to Plaintiffs’ Motion to Lift Stay and Dismiss All

 2   Claims Pursuant to Rule 41(a)(2). As the Motion is unopposed, Plaintiffs respectfully request that

 3   it be granted and all claims dismissed, without prejudice.

 4          DATED: May 24, 2019
 5
                                                       By s/ Christopher T. Wion
 6                                                       Philip S. McCune, WSBA #21081
                                                         Christopher T. Wion, WSBA #33207
 7                                                       315 Fifth Avenue S., Suite 1000
                                                         Seattle, WA 98104
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                                                         chrisw@summitlaw.com
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                                                          Attorneys for Plaintiffs
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     PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION
     TO LIFT STAY AND TO DISMISS ALL CLAIMS
                                                                        SUMMIT LAW GROUP PLLC
                                                                          315 FIFTH AVENUE SOUTH, SUITE 1000
     PURSUANT TO RULE 41(A)(2) - 2                                         SEATTLE, WASHINGTON 98104-2682
     CASE NO. 2:17-cv-01830-RSL                                                 Telephone: (206) 676-7000
                                                                                   Fax: (206) 676-7001
               Case 2:17-cv-01830-RSL Document 50 Filed 05/24/19 Page 3 of 3



                                       CERTIFICATE OF SERVICE
 1
            I hereby certify that on this day I electronically filed the foregoing with the Clerk of the
 2
     Court using the CM/ECF system which will send notification of such filing to the following:
 3
                                    Counsel for Defendants
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                                    Counsel for Receiver, Robb Evans & Associates LLC
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18                                  Gary Owen Caris, CA SBN 088918
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20                                  (310) 284-3880
                                    gcaris@btlaw.com
21

22          DATED this 24th day of May, 2019.
23
                                                           s/ Colleen A. Broberg
24                                                         Colleen A. Broberg

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     PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION
     TO LIFT STAY AND TO DISMISS ALL CLAIMS
                                                                           SUMMIT LAW GROUP PLLC
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